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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




J.G.G., et al.,


Petitioner,
v.                                                     No. 1:25-cv-766 (JEB)
DONALD J. TRUMP, et al.,
                                                       Declaration Of Deputy Assistant Director
                                                       Selwyn Smith
Respondents.


                             DECLARATION OF SELWYN SMITH


I, Selwyn Smith, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.         I am a Deputy Assistant Director (“DAD”) for Homeland Security Investigations

(“HSI”) at U.S. Immigration and Customs Enforcement (“ICE”) within the U.S. Department of

Homeland Security (“DHS”).

       2.         As the DAD of Countering Transnational Organized Crime, Public Safety and

Border Security division (“PSBS”), I oversee a wide variety of investigative and special

operations programs targeting Transnational Criminal Organizations involved in human

smuggling, narcotics trafficking, racketeering and violent gang activity as well as other crimes

enforced by HSI. These programmatic areas support the targeting of cross border criminal

organizations that exploit America’s legitimate trade, travel, and financial systems for illicit

purposes.
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       3.      I am aware that the instant lawsuit has been filed regarding the removal of

Venezuelan members of Tren de Aragua (“TdA”) pursuant to the Alien Enemies Act (“AEA”).

       4.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

       5.      On March 15, 2025, President Trump announced the Proclamation Invocation of

the Alien Enemies Act Regarding the Invasion of The United States by Tren De Aragua stating

that, “Evidence irrefutably demonstrates that TdA has invaded the United States and continues to

invade, attempt to invade, and threaten to invade the country; perpetrated irregular warfare

within the country; and used drug trafficking as a weapon against our citizens” (the

Proclamation) (https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-

alien-enemies-act-regarding-the-invasion-of-the-united-states-by-tren-de-aragua/). In the same

Proclamation, President Trump announced that, pursuant to 50 U.S.C. § 21, “all Venezuelan

citizens 14 years of age or older who are members of TdA, are within the United States, and are

not actually naturalized or lawful permanent residents of the United States are liable to be

apprehended, restrained, secured, and removed as Alien Enemies.”

       6.      Members of TdA pose an extraordinary threat to the American public. TdA

members are involved in illicit activity to invoke fear and supremacy in neighborhoods and with

the general population. This has been evident from investigations throughout the nation where

TdA members coalesce to conduct their criminal acts. For example, TdA’s takeover of Denver

apartment buildings stoked fear in the tenants when TdA committed burglaries, narcotics, and

weapons violations. Other inquiries into the actions of member of TdA have resulted in criminal

investigations and prosecution of cases of human trafficking, to include trafficking of women
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from Venezuela; bank fraud; federal narcotics violations; extortion of human smuggling victims;

and homicide, to name a few. This, along with the myriad state violations and investigations of

groups of TdA members committing crimes throughout the nation are evidence of their criminal

enterprise.

       7.      TdA is a violent transnational criminal organization (TCO) which originated in

the mid-to-late 2000’s as a prison gang founded by inmates of the Tocorón prison in the

Venezuelan state of Aragua. TdA has since evolved from Venezuela’s most powerful homegrown

prison gang into a TCO which by 2018, had expanded throughout South America and grew to

have an estimated 3,000 to 5,000 members. As TdA continues its expansion throughout South

America it is currently proliferating into North America.

       8.      Much like MS-13, as TdA’s influence and power expanded to other prisons

throughout Venezuela and then across the southern hemisphere, the global leadership of the

organization exploited the prison system to develop a base of operations for the gang to

coordinate logistics, revenue streams, and recruitment. TdA was also able to grow its numbers

from the steady prison population and build its criminal enterprise through the extortion of

inmates. The founding members, senior leaders, and a vast number of TdA members escaped the

Tocorón prison in September 2023. The subsequent destruction of the prison resulted in the

displacement of the senior leaders and the decentralization of the global command-and-control

structure for the organization.

       9.      Over the course of the past three years, TdA has expanded throughout North

America and are now known to be present and committing criminal activity in at least 40 states

in the continental United States and Canada. TdA has proven to leverage many of the same

expansion tactics and strategies in the United States that they previously employed throughout
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South America. Due to the migration patterns of the Venezuelan diaspora and the vast expansion

of the organization throughout the United States, TdA has become a loosely affiliated collection

of independent cells committing disorganized and opportunistic crimes of violence against the

Venezuelan population and rival gangs, terrorizing local communities. Detention of TdA leaders

and members would potentially result in the unintended consequence of consolidating and

centralizing their command-and-control structure and thereby providing an opportunity for TdA

to organize and prolong the violent activities of their criminal enterprise within the United States.

       10.     Historically, TdA has been found to be either, or both, strategic and opportunistic

in their evolution and expansion. Within the Venezuelan penitentiary system, TdA methodically

pursued geographic expansion by taking control of selected prisons in Aragua and surrounding

states. Throughout the gang’s expansion across international borders, the establishment and

disbursement became more random and responsive to the environment and driven by

profitability. As TdA continues its geographical expansion it has shown to operate as a loosely

organized criminal syndicate serving as an umbrella organization for franchise networks under

the TdA banner.

       11.     TdA establishes their presence in a three-phase expansion methodology through

force and dominance in an urban population within a geographical region. This pattern of

behavior has been documented in TdA’s expansion throughout South America, including into

Colombia, Perú, and Chile. The three known phases of expansion are the Exploration,

Penetration, and Consolidation phase.

       12.     Exploration - In this step, TdA has been known to infiltrate and control groups of

Venezuelan refugees traveling along migratory routes. By mixing with these migrants TdA
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members can keep a low profile and pass into new regions. They have been known to exploit

these migrants for the gang’s profit through extortion and sexual exploitation.

       13.     Penetration - In this step, TdA members begin to establish themselves within their

new territory. This is often accompanied by a corresponding increase in crime and violence as

they begin to set up their criminal activities and confront existing gangs previously established in

the area. In general, TdA has historically targeted opportunistic areas with a relatively low

volume of rival organizations present and with elevated profitability. During this phase TdA will

typically engage in extortion, low-level drug distribution, human trafficking and sexual

exploitation, kidnapping, and other violent crimes of intimidation.

       14.     Consolidation - Once TdA members have firmly established themselves within an

area and overcome and/or absorbed competing gangs through domination they move to

consolidate their power and position within the territory into an enterprise.

       15.     Reporting reveals TdA is attempting to expand its presence and criminal activity

throughout the Western Hemisphere by exploiting the record mass migration resulting from

Venezuela’s recent political, economic, and humanitarian crises. According to key assessments, if

left unchecked, TdA is likely to establish increasingly sophisticated human smuggling and sex

trafficking networks into the United States leading to an increase in criminal activity and likely

adding further strain to law enforcement resources as seen in Chicago, New York, Denver, and

along our southern border.

       16.     As of September 2024, ICE HSI reporting indicates that TdA members have been

identified in at least 40 states across the United States. ICE HSI has opened approximately 472

investigations targeting members and/or TdA criminal networks across domestic and

international offices. The violations in these investigations include, but are not limited to,
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murder, robbery, human smuggling, human trafficking, sex trafficking, hostage taking, narcotics

trafficking, and firearms violations.

       17.     In January 2024, the New York Police Department (“NYPD”) recorded a surge in

moped robberies that are attributed by police as likely orchestrated by TdA recruits. NYPD

CompStat reporting indicates that moped-based armed robbery patterns during this period were

158% higher than the same period the previous year. NYPD attributes this surge to be a result of

TdA recruitment of Venezuelans in New York City migrant centers. Accused leaders have

admitted to a complex network connected to Florida and Texas with profits shipped back to

South America. Associated crews of this TdA network are allegedly involved in extortion and

ransom schemes connected to human smuggling and human trafficking networks.

       18.     In June 2024, multiple suspected TdA members participated in a nationally

publicized series of robberies including the armed robbery of $2 million in merchandise from a

high-end jewelry store in Denver, Colorado. In total, 13 subjects were apprehended by ICE HSI

in a multi-agency, coordinated enforcement operation as the group attempted to flee to

Venezuela.

       19.     In January 2025, as a result of a joint ICE HSI investigation, nine TdA members

were criminally charged in Colorado state court for their participation in the December 17, 2024,

armed home invasion, kidnapping, and torture of two Venezuelan nationals at the Edge of Lowry

Apartments in Aurora, Colorado. In total, 12 subjects were charged, with three Venezuelan

nationals remaining at large. The court granted the City of Aurora an emergency order to

temporarily close the Edge of Lowery Complex due to “an imminent threat to public safety and

welfare.”
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       20.     In February 2025, a joint multi-jurisdictional ICE HSI investigation with the

Federal Bureau of Investigation and Tennessee Bureau of Investigation, dismantled a

transnational commercial sex trafficking enterprise charging eight subjects with ties to TdA. The

defendants operated an illegal commercial sex and sex trafficking enterprise out of Nashville

motels from July 2022 through March 2024. The defendants facilitated the victims’ arrival into

the United States and used online commercial sex websites to post advertisements and internet or

cellular communications to conduct illicit criminal activities.

       21.     It is critical to use all available law enforcement tools to disrupt TdA activities

quickly. These individuals are designated as foreign terrorists. Within Venezuela, TdA was able

to grow its numbers from the steady prison population and build its criminal enterprise through

the extortion of inmates. Keeping them in ICE custody where they could potentially continue to

recruit new TdA members poses a grave risk to ICE personnel; other, nonviolent detainees; and

the United States as a whole.

       22.     Though many TdA members subject to the AEA do not have criminal records in

the United States, due to their origin as a prison gang, it is safe to assume these subjects have

criminal histories in their home countries, which U.S, law enforcement cannot verify due to the

lack of diplomatic relations that currently exist with the country of Venezuela. The lack of a

criminal record in the United States does not indicate they pose a limited threat. In fact, based

upon their association with TdA, the lack of specific information about each individual actually

highlights the risk they pose. It demonstrates that they are potential terrorists for whom we lack a

complete profile.

       23.     However, even though many of these TdA members have been in the United

States only a short time, some have still managed to commit extremely serious crimes. A review
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of ICE databases reveals that numerous individuals subject to the AEA have arrests and

convictions in the United States for dangerous offenses.

       24.     Additionally, a review of ICE databases reveals that numerous individuals

removed have arrests, pending charges, and convictions outside of the United States, including

an individual who is under investigation by Venezuelan authorities for the crimes of aggravated

homicide, qualified kidnapping, and illegal carrying of weapons of war and short arms with

ammunition for organized gang in concealment and trafficking; an individual who is the subject

of an active INTERPOL Blue Notice issued on or about January 2, 2025, and a Red Notice

issued February 5, 2025, for the crime of kidnapping and rape in Chile; an individual who is the

subject of an INTERPOL Red Notice issued by Chile for kidnapping for ransom and criminal

conspiracy involving TdA; an individual who admitted he sold marijuana and crystal

methamphetamine for the Colombian gang Las Paisas, assaulted someone with a knife for a

cellphone while living in Venezuela, and has twice robbed people for money while living in

Colombia; an individual who is the subject of an INTERPOL Red Notice for child abduction; an

individual identified as a “high-ranking” member of the TdA by the Mobile Tactical Interdiction

Unit in Guatemala City, Guatemala; an individual who is the subject of an INTERPOL Red

Notice based on obstruction of justice, criminal conspiracy, and aggravated corruption based on

the individual’s role as a police officer in modifying evidence to cover up a murder; an individual

who, according to Peruvian Newspapers, is associated with high-ranking TdA members and who

fled Peru while under investigation for illegal possession of firearm and distributing narcotics;

and an individual who is the subject of an INTERPOL Blue Notice stating that he is under

investigation in Venezuela for murder with aggravating circumstances against a victim whose

corpse was found inside a suitcase on a dirt road.
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       25.     According to a review of ICE databases, numerous individuals removed were

arrested together as part of federal gang operations, including two individuals who were in a

vehicle during a Federal Bureau of Investigations gun bust with known TdA members; four

individuals who were arrested during the execution of an HSI New York City operation; and four

individuals who were encountered during the execution of an arrest warrant targeting a TdA gang

member, all of whom were in a residence with a firearm and attempted to flee out the back of the

residence.


I declare under penalty of perjury that the foregoing is true and correct.


Executed this 1st day of April 2025.
                                               SELWYN J         Digitally signed by SELWYN J
                                                                SMITH

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                                              Selwyn Smith
                                              Deputy Assistant Director
                                              Homeland Security Investigations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security
